                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA        CLERK. U.S. DISTRICT uuuffl
                             ALEXANDRIA DIVISION
                                                                 CLfcr7dvAKtnRlA VIRGINIA      J
1.   GERARD MORRISON
2.   CHRISTOPHER THOMPSON
3. ELTON POLEN, JR.
                                           CIVIL ACTION COMPLAINT
4.   CALVIN ALEXANDER
                                             Complaint No. j l^Us S
5.   MICHAEL ALLEN
                                               Jury Trial Demand &fa^/^FA
6.   ROCCOALVARO
7.   THOMAS ARNOLD
8.   WILLIAM ATWELL
9.   ROBERT BANASIK
10. TIMOTHY BARB
11. TODD BARB
12. MATHEW BARNHART
13. MERVIN BARRERA
14. OSCAR BEASLEY
15. WILLIAM BEST, JR.
16. BILLBETZ
17. DANIEL BORDEN, JR.
18. EDWARD BOWMAN
19. FREDBRANDELL
20. DONALD BRASFIELD
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21. CHRISTOPHER BROWN

22. JON BRULEY

23. CLYDE BUCHANAN

24. CARLTON BURKHAMMER

25. ROBERT BURLINGAME

26. MATTHEW BURNS

27. LEO BURT


28. LEROY BUTLER, JR.

29. KEITH CERZULLO

30. JOHN CHESEK, JR.

31. MICHAEL CIARROCCHI

32. STEVEN CLARK


33. BRADFORD COCHRANE, JR.

34. THOMAS CONNOLLY


35. DAVID CONRAD


36. ARTHUR COX


37. DUSTIN CRAMER


38. TRACY CRAWFORD


39. KEITH CROSS

40. CHARLES CUNNINGHAM


41. ERIC CUNNINGHAM

42. DANNY DANIELS II


43. MICHAEL DAVIS
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44. TROY DEAN


45. YOLANDA DEMARK

46. SAMUEL DEVERA

47. GARY DIZE


48. KEITH DUBETSKY


49. BRIAN EDMONSTON

50. KEVIN EDWARDS


51. DEREK EDWARDS

52. FELECIA EDWARDS

53. SEAN EVANS


54. MARK FEASTER


55. MICHAEL FISCHER


56. COLIN FLANIGAN

57. THOMAS FLINT


58. MICHAEL FONTANA


59. RAMIRO GALVEZ


60. MICHAEL GARCIA


61. KENNETH GEFFEN


62. JARED GOFF


63. GEORGE GONZALEZ

64. TODD GORHAM

65. SAMUEL GRAY


66. RAYMOND GRIFFIN
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67. WESLEY GRIGG

68. DAVID GRUENDEL

69. MARK GUDITUS


70. DAVID HALL


71. JAMES HARRISON III


72. SHERYL HEMINGWAY

73. CHARLES HENDERSON


74. KIT HESSEL


75. JOHN HIGGINBOTHAM


76. JAMES HOBGOOD

77. KIMBERLY HOOD


78. TRENTON HOUGHTON


79. GREGORY HUNTER


80. JAMES IACONE


81. JAMES ISTVAN


82. MICHAEL ISTVAN


83. ANTHONY JACKSON

84. JAMES JOHNSON


85. REGINALD JOHNSON

86. THOMAS JOHNSON


87. WALTER JOHNSON

88. JOSEPH KALEDA


89. GLENN KAPLAN
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90. PATRICK KELLY


91. REBECCA KELLY


92. WILLIAM KINGDON


93.JOSPEHKISER

94. ROBERT KITCHEN


95. JOSEPH KNERR


96. ROBERT KONCZAL


97. TONY KOSTECKA

98. RONALD KULEY


99. RICHARD LANCING


100.   DAVID LANGE


101.   JAMES LEE


102.   JOHNLEETE


103.   JEFFREY LEWIS


104.   ROBERT LISON


105.   MATTHEW LOPEZ


106.   WILLIAM LYNCH


107.   BARRY MAHAM


108.   MICHAEL MARKS

109.   CHARLES MARTIN


110.   JAMES MASIELLO

111.   PAUL MASIELLO


112.   GLENN MASON
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113.      COREY MATTHEWS

114.      THOMAS MAYHEW

115.      STEVEN MCFARLAND


116.      ROGER MCGEHEE

117.     RICHARD MCKINNEY JR.

118.     KERWIN MCNAMARA


119.     FRANCIS MENSAH

120.     MARK MENTON


121.     JOSEPH MERRITT, JR.

122.     STEPHEN MILLER


123.     ROBERT MOHLER


124.     JEFFREY MONGOLD


125.     DONALD MONTAGUE


126.     BRIAN MORAVITZ

127.     JOHN MORRIS

128.     RICHARD MOXLEY


129.     JOHNNIEMIEC


130.     BRYAN NIX, JR.

131.     STEVEN NORRIS


132.     STEPHEN O'BRIEN

133.     MILTON PAINTER


134.     JOSEPH PALAU, III

135.     DENNIS PASSMORE
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136.   GARY PEMBERTON

137.   JOHN PETERS


138.   DALLAS PHILLIPS


139.   RALPH PISANI


140.   CHARLES PULLEN


141.   E MARTIN RANCK, III

142.   BARRY RATHBONE


143.   JOHN RICHTER


144.   NATALIE ROBB


145.   RONNIE RODRIGUEZ


146.   MATTHEW RYAN


147.   WILLIAM SCHELLHAMMER, III

148.   MARK SCHROEDER


149.   DAVID SCHWARZMANN


150.   MICHAEL SEASE, II

151.   DAVID SELLERS


152.   DANIEL SHAW


153.   RICHARD SMITH


154.   SCOTT SMITH


155.   MICHAEL SNAPP


156.   JAMES SOBOTA


157.   JAMES STICKLEN


158.   REX STRICKLAND
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159.   CHERISTROUP


160.   RONALD SYDNOR

161.   KENDALL THOMPSON

162.   LORENZO THROWER

163.   CHRISTOPHER TILLES

164.   DAVID TOBIN


165.   JEFFREY TOLLE


166.   GLENN TSCHANN

167.   WILLIAM VANNOY

168.   DONALD VAUGHT


169.   JACK WALMER, JR.

170.   JOHNWALSER


171.   THOMAS WEALAND


172.   OSCAR WELLS

173.   WAYNE WENTZEL


174.   MICHAEL WHETSELL

175.   PAUL WHITE


176.   KENNETH WILDMAN


177.   JEROME WILLIAMS
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178.     MARCUS WILLIAMS                         )
                                                 )
179.     ELTON WRIGHT                            )
                                                 )
                 Plaintiffs,

vs.



COUNTY OF FAIRFAX, VA,

                 Defendant.



                                           COMPLAINT


                                         INTRODUCTION


         Plaintiffs, by and through their counsel, the law firm of Woodley & McGillivary,

respectfully submit their complaint against the County of Fairfax, Virginia, and state as follows:



                                             PARTIES


      1. At all times material herein, plaintiffs James Sobota and Paul Masiello have been

employed by the defendant County of Fairfax, Virginia as Fire Investigators at the rank of

Captain II or below in the Fairfax County Fire and Rescue Department and assigned to the

Investigations Section (hereinafter "Fire Investigator Plaintiffs").

      2. The additional persons who are plaintiffs in this action have been employed by the

defendant County of Fairfax, Virginia, in the positionof either Captain I and/or Captain II in the

Fairfax County Fire and Rescue Department and are or were assigned to the Operations Bureau

in one or more of the County's 38 fire stations (hereinafter "Fire Captain Plaintiffs").

      3. Plaintiffs bring this action for a declaratory judgment, back pay, liquidated damages and

other relief pursuant to 29 U.S.C. §207, 29 U.S.C. § 216(b), and 28 U.S.C. § 1331, to remedy

the defendant's willful and unlawful violations of federal and state law complained of herein.
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    4. Plaintiffs are identified in the caption of the Complaint and have given their written

consent to be party plaintiffs in this action pursuant to 29 U.S.C. § 216(b). Such written consents

are appendedto this Complaint in Appendix A. These written consent forms set forth each

plaintiffs name and address.

    5. Each of the plaintiffs in this action whileemployed by the defendant has been an

"employee" within the meaning of the FairLabor Standards Act ("FLSA"), 29 U.S.C. Section

203(e)(1). The Fire Captain Plaintiffs have been "fire protection employees" within the meaning
of the FLSA, 29U.S.C. Section 203(y) and Virginia Code Section 9.1-700 etseq. The Fire

Investigator Plaintiffs have been employees engaged in "law enforcement activities" within the

meaning of the FLSA, 29U.S.C. §207(k), and Virginia Code Section 9.1-700 et seq.

   6. Defendant County of Fairfax, Virginia ("Fairfax County"), is an employer within the

meaning of Section 3(d) of the FLSA and a public agency within the meaning of Section 3(x) of
the FLSA. 29 U.S.C. § 203(d) and 203(x). Fairfax County is, and was at all times material

hereto, an employer within the meaning of Virginia Code Section 9.1 -700 etseq. Fairfax

County's principal office and place of business is located at 12000 Government Center Parkway,
Fairfax, VA 22035.




                                JURISDICTION AND VENUE

   7. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 29 U.S.C. §

216(b), and28 U.S.C. §1367(a) (supplemental jurisdiction to entertain claims in Count V).

   8. Venue is proper in this district pursuant to 28 U.S.C. § 1391.



                                             FACTS




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    9. Since January 3,2011, as well as before, the Fire Investigator Plaintiffs have worked
within the Fairfax County Fire and Rescue Department ("FCFRD") for the defendant inthe
position ofFire Investigator at the rank ofCaptain II or below and have been, or are, assigned to
the Investigations Section of the FCFRD.

    10. Within the last three years and continuing to date, the primary job duty ofthe Fire
Investigator Plaintiffs is to determine the cause and origin offires by investigating the cause of
fires once the fires have been extinguished by fire fighters assigned to the Operations Bureau.
The Fire Investigator Plainitffs also investigate explosions, attempts orthreats to commit such
offenses, false alarms, and the possession and manufacture ofexplosive devices.

    11. The Fire Investigator Plaintiffs have the power ofarrest and are authorized to carry
firearms and must maintain firearms qualifications.

    12. The Fire Investigator Plaintiffs are not dispatched to fire scenes for the purpose of
preventing, controlling orextinguishing fires. Accordingly, they are not employees engaged in
"fire protection activities" within the meaning of the FLSA, 29 U.S.C. §203(y). Instead, the Fire

Investigator Plaintiffs' investigation responsibilities begin when the fire fighters have

extinguished the fire.

    13. The Fire Investigator Plaintiffs are assigned to work, and in fact do work, a regular and

recurrent schedule of two 12 hour day shifts on-duty, followed by two 12 hour night shifts on-

duty followed by four days off-duty. Fire Investigator Plaintiffs are therefore regularly assigned
to work, and do work, in excess of 40 hours per week, as well as in excess of43 hours per week

and 171 hours in a 28-day period. When Fire Investigator Plaintiffs work hours in excess of 40

perweek, as well as in excess of 43 hours perweek and 171 hours in a 28-day period, plaintiffs
receive only straight time pay for their overtime hours.




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    14. Defendant has in its custody and control the records showingthe shift assignments of

each Fire Investigator Plaintiff during the relevant time period.

    15. At all relevant times, and ongoing, Fire Investigator Plaintiffs have beenunlawfully paid

only the straight time rate of pay, as opposed to time and one-half their regular rateof pay, for

any and all hours worked in excess of 40 hours per week. In addition, at all relevant times, and

ongoing, Fire Investigator Plaintiffs unlawfully have been paid only the straight time rate of pay,

as opposed to time and one-half their regular rate of pay for any and all hours worked in excess

of 43 hours per week and 171 hours in a 28-day period.

    16. Since November 1, 2010, as well as before, the Fire Captain Plaintiffs have worked

within the FCFRD for the defendant in the position of either Captain I and/or Captain II and have

been assigned to the Operations Bureau.

    17. FCFRD has 38 fire stations. The 38 stations are divided into seven battalions. Each

station is staffed similarly, with three 24-hour long shifts to ensure continuous 24-hour coverage

365 days a year. The shifts are identified as A shift, B shift, and C shift. Defendant assigns each

Fire Captain Plaintiff to a particular shift and station. Defendant has in its custody and control

the records showingthe shift and station assignments of each Fire Captain Plaintiff during the

relevant time period.

    18. Each shift at each station is staffed with an operational crew of at least one Captain I or

Captain II and approximately five fire fighters, while other stations are staffed with operational

crews of approximately ten employees: one Captain I or Captain II, two Lieutenants, and

between five and seven fire fighters of various rank (fire fighter, technician and master

technician). Employees at the rank of Fire Captain I and Fire Captain II report directly to a

Battalion Chief.




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    19. Within the last three years, and continuing to date, while working at the rank ofCaptain I
and Captain II on behalf ofdefendant, the Fire Captain Plaintiffs' primary job duty has been, and
remains, to protect and serve the public by engaging in fire suppression and related activities.
The Fire Captain Plaintiffs are required to respond with their crew to all fire calls assigned to
their particular fire station. While on the scene of fire calls, the Fire Captain Plaintiffs, along
side their crew, engage in the control, suppression, and extinguishment offires and the rescue of
fire oraccident victims. Fire Captain Plaintiffs are also required to participate in the same
physical fitness program and complete all required training as theother members of the crew on

which they serve. In addition, the Fire Captain Plaintiffs who are assigned as Safety Officers
while working atthe rank ofCaptain I and Captain II are automatically dispatched to certain
calls where they go into a fire scene to determine whether there are any safety issues that might
be present (i.e., gas levels, the structural integrity ofthe fire scene, etc.), to ensure the safety and
security of the employees engaging in fire suppression activities.

    20. While working in the position of either Captain I or Captain II on behalfof defendant, the

Fire Captain Plaintiffs are assigned to work, and infact do work, a regular and recurrent schedule
of24 hours on-duty, followed by 24 hours off-duty, followed by 24 hours on-duty, followed by
24 hours off-duty, followed by 24hours on-duty, followed by 96 hours off-duty, which results in
their working, on average 56 hours per week, and either 216 hours or 240 hours every 28 days.
Fire Captain Plaintiffs are therefore regularly assigned to work, and do work, in excess of 40

hours per week, as well as in excess of 53 hours per week and 212 hours in a 28-day period.
When plaintiffs work hours in excess of 40per week, as well as in excess of 53 hours per week
and 212 hours in a 28-day period, plaintiffs receive only straight time pay for their overtime
hours.




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    21. At all relevant times, and ongoing, plaintiffs occupying Captain I and/or Captain II

positions were unlawfully paidonly the straight time rate of pay, as opposed to time and one-half

theirregular rate of pay, for any and all hours worked in excess of 40 hours per week. In

addition, at all relevant times, and ongoing, plaintiffs assigned to Captain I and Captain II

positions unlawfully have been paid only the straight time rate of pay, as opposedto time and

one-halftheir regularrate of pay for any and all hours worked in excess of 53 hours per week

and 212 hours in a 28-day period.



                                            COUNT I
                       (FIRE INVESTIGATOR PLAINTIFFS)
             VIOLATION OF 207(a) OF THE FAIR LABOR STANDARDS ACT

   22. Plaintiffs re-allege, and incorporate by reference herein, paragraphs 1 through 21 of this

Complaint.

   23. During the times that Fire Investigator Plaintiffs have worked in excess of 40 hours in a

workweek, defendant has failed to provide Fire Investigator Plaintiffs with the rights and

protections provided under the FLSA, including overtime pay at the rate of one and one-half

times their regular rates of pay for all hours Fire InvestigatorPlaintiffs have worked in excess of

the hourly standards set forth under 29 U.S.C. § 207(a).

   24. By failing to pay the Fire Investigator Plaintiffs and other employees similarly situated

the overtime pay required under the law, the defendant has violated and is continuing to violate

the provisions of the FLSA in a manner that is unreasonable, willful and in bad faith. As a result,

at all times material herein, the plaintiffs have been unlawfully deprived of overtime

compensation and other relief for the maximum period allowed under the law.




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    25. As a result of the defendant's willful, unreasonable and bad faith violations of the FLSA,

there have become due and owing to the Fire Investigator Plaintiffs an amount that has notyet

been precisely determined. The employment and work records for the Fire Investigator Plaintiffs

(including time and attendance records) are in the exclusive possession, custody and control of

the defendant and the plaintiffs are unable to state atthis time the exact amount owing to them.

Defendant is undera duty imposed under the FLSA, 29 U.S.C. § 211(c), and various other

statutory andregulatory provisions, to maintain and preserve payroll and other employment

records with respect to the Fire Investigator Plaintiffs and otheremployees similarly situated

from which the amount of defendant's liability can be ascertained.

   26. Pursuant to 29 U.S.C. § 216(b), Fire investigator Plaintiffs are entitled to recover

liquidated damages in an amount equal to their back pay damages for the defendant's failure to

pay overtime compensation.

   27. Fire Investigator Plaintiffs are entitled to recover attorneys' fees and costs under 29

U.S.C. § 216(b).


                                           COUNT II
                     (FIRE INVESTIGATOR PLAINTIFFS)
           VIOLATION OF 207(k) OF THE FAIR LABOR STANDARDS ACT

   28. Fire Investigator Plaintiffs re-allege, and incorporate by reference herein, paragraphs 1

through 27 of this Complaint.

   29. Under the U.S. Department of Labor's regulations applicable to law enforcement

employees covered under 29 U.S.C. §207(k), (29 C.F.R. §553.230), an employer must pay

overtime compensation to such employees at a rate not less than one and one-half times their

regular rate of pay for hours of work in excess of 43 hours in a 7-day work period or in excess of




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171 hours in a maximum 28-day work period (or in excess ofa proportionate number of hours
for work periods between 7 and 28 days).

    30. During the times that Fire Investigator Plaintiffs have worked in excess of43 hours per
workweek and 171 hours ina 28-day period, defendant has failed to provide Fire Investigator
Plaintiffs with the rights and protections provided under the FLSA, including overtime pay atthe
rate ofone and one-half times their regular rates of pay for all hours Fire Investigator Plaintiffs
have worked in excess of the hourly standards set forth under 29 U.S.C. § 207(k).

    31. Byfailing to pay the Fire Investigator Plaintiffs and other employees similarly situated

the overtime pay required under the law, the defendant has violated and is continuing to violate

the provisions of the FLSA in a manner that is unreasonable, willful and in bad faith. As a result,

at all times material herein, the Fire Investigator Plaintiffs have been unlawfully deprived of
overtime compensation and other relief for the maximum period allowed underthe law.

    32. As a result of the defendant's willful, unreasonable and bad faith violations of the FLSA,

there have become due and owing to the Fire Investigator Plaintiffs an amount that has not yet

been precisely determined. The employment and work records for the Fire Investigator Plaintiffs

(including time and attendance records) are in the exclusive possession, custody and control of

the defendant and the plaintiffs are unable to state at this time the exact amount owing to them.

Defendant is under a duty imposed under the FLSA, 29 U.S.C. § 211(c), andvarious other

statutory and regulatory provisions to maintain and preserve payroll and other employment

records with respect to the Fire Investigator Plaintiffs and other employees similarly situated
from whichthe amount of defendant's liability can be ascertained.




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    33. Pursuant to 29 U.S.C. § 216(b), the Fire Investigator Plaintiffs are entitled to recover

liquidated damages in an amount equal to their back pay damages for the defendant's failure to

pay overtime compensation.

    34. Fire Investigator Plaintiffs are entitled to recover attorneys' fees and costs under 29

U.S.C. § 216(b).


                                            COUNT III
                          (FIRE CAPTAIN PLAINTIFFS)
             VIOLATION OF 207(a) OF THE FAIR LABOR STANDARDS ACT

   35. Plaintiffs re-allege, and incorporate by reference herein, paragraphs 1 through 34 of this

Complaint.

   36. During the times that Fire Captain Plaintiffs have worked in excess of 40 hours in a

workweek, defendant has failed to provide Fire CaptainPlaintiffs with the rights and protections

provided under the FLSA, including overtime pay at the rate of one and one-half times their

regular rates of pay for all hours Fire Captain Plaintiffs have worked in excess of the hourly

standards set forth under 29 U.S.C. § 207(a).

   37. By failing to pay the Fire Captain Plaintiffs and other employees similarly situated the

overtime payrequired under the law, the defendant has violated and is continuing to violate the

provisions of the FLSA in a manner that is unreasonable, willful and in bad faith. As a result, at

all times material herein, the Fire CaptainPlaintiffs have been unlawfully deprived of overtime

compensation and other relief for the maximum period allowed under the law.

   38. As a result of the defendant's willful, unreasonable and bad faith violations of the FLSA,

there have become due and owing to the Fire Captain Plaintiffs an amount that has not yet been

precisely determined. The employment and work records for the Fire Captain Plaintiffs

(including time and attendance records) are in the exclusive possession, custody and control of


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the defendant and the plaintiffs are unable to state at this time the exact amount owing to them.

Defendant is under a duty imposed under the FLSA, 29 U.S.C. § 211(c), and various other

statutory and regulatory provisions, to maintain and preserve payroll and other employment

records with respect to the Fire Captain Plaintiffs and other employees similarly situated from

which the amount of defendant's liability can be ascertained.

   39. Pursuant to 29 U.S.C. § 216(b), Fire Captain Plaintiffs are entitled to recover liquidated

damages in an amount equal to their back pay damages for the defendant's failure to pay

overtime compensation.

   40. Fire Captain Plaintiffs are entitled to recover attorneys' fees and costs under 29 U.S.C. §

216(b).



                                           COUNT IV
                        (FIRE CAPTAIN PLAINTIFFS)
           VIOLATION OF 207(k) OF THE FAIR LABOR STANDARDS ACT

   41. Fire Captain Plaintiffs re-allege, and incorporate by reference herein, paragraphs 1

through 40 of this Complaint.

   42. Under the U.S. Department of Labor's regulations applicable to fire fighters covered

under 29 U.S.C. §207(k), (29 C.F.R. §553.230), an employer must pay overtime compensation to

such employees at a rate not less than one and one-half times their regular rate of pay for hours

of work in excess of 53 hours in a 7-day work period or in excess of 212 hours in a maximum

28-day work period (or in excess of a proportionate number of hours for work periods between 7

and 28 days).

   43. During the times that Fire Captain Plaintiffs have worked in excess of 53 hours per

workweek and 212 hours in a 28-day period, defendant has failed to provide Fire Captain




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Plaintiffs with the rights and protections provided under the FLSA, including overtime pay at the
rate ofone and one-halftimes their regular rates ofpay for all hours Fire Captain Plaintiffs have
worked inexcess ofthe hourly standards set forth under 29 U.S.C. § 207(k) and 29 C.F.R.
§553.230.

    44. By failing to pay the Fire Captain Plaintiffs and other employees similarly situated the
overtime pay required under the law, the defendant has violated and is continuing to violate the
provisions ofthe FLSA in a manner that is unreasonable, willful and in bad faith. As a result, at
all times material herein, the Fire Captain Plaintiffs have been unlawfully deprived ofovertime
compensation and other relieffor the maximum period allowed under the law.

    45. As a result of the defendant's willful, unreasonable and bad faith violations of the FLSA,
there have become due and owing to the Fire Captain Plaintiffs an amount that has not yet been
precisely determined. The employment and work records for the Fire Captain Plaintiffs
(including time and attendance records) are in the exclusive possession, custody and control of
the defendant and the plaintiffs are unable to state at this time the exact amount owing to them.
Defendant is under a duty imposed under the FLSA, 29 U.S.C. § 211(c), and various other

statutory and regulatory provisions to maintain and preserve payroll and other employment

records with respect to the Fire Captain Plaintiffs and other employees similarly situated from
which the amount of defendant's liability can be ascertained.

   46. Pursuant to 29 U.S.C. § 216(b), the Fire Captain Plaintiffs are entitled to recover

liquidated damages in an amount equal to their back pay damages for the defendant's failure to
pay overtime compensation.

   47. Fire Captain Plaintiffs areentitled to recover attorneys' fees and costs under 29 U.S.C. §
216(b).




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                                             COUNT V
                                 VIOLATION OF STATE LAW


    48. Fire Investigator and Fire Captain Plaintiffs re-allege, and incorporate by reference

herein, paragraphs 1 through and 47 of this Complaint.

    49. During the times that Fire Investigator and Fire Captain Plaintiffs have worked in excess

of 40 hours per workweek, as well as the time that Fire Investigator Plaintiffs have worked in

excess of 43 hours per workweek and 171 hours in a 28-day period, as well as times that Fire

Captain Plaintiffs have worked in excess of 53 hours per workweek and 212 hours per 28-day

period, defendant has failed to provide them with the rights and protections provided under

Virginia Code Section 9.1-700 et seq. ("Overtime Compensation for Law-Enforcement

Employees and Firefighters, Emergency Medical Technicians, and Other Fire Protection

Employees"). Specifically, under Va. Code §§9.1-701 through 9.1-703, defendant has failed to

pay plaintiffs all overtime pay at the rate of one and one-half times their regular rates of pay for

all hours plaintiffs have worked in excess of the hourly standards set forth under 29 U.S.C. §§

207(a) and (k).

    50. By failing to pay the Fire Investigator Plaintiffs and Fire Captain Plaintiffs and other

employees similarly situated the overtime pay required under state law, the defendant has

violated and is continuing to violate, in a willful, unreasonable and bad faith manner, the

provisions of state law. As a result, at all times material herein, the Fire Investigator Plaintiffs

and Fire Captain Plaintiffs have been unlawfully deprived of overtime compensation and other

relief for the maximum period allowed under the law.

    51. As a result of the defendant's willful, unreasonable and bad faith violations of state law,

there have become due and owing to the Fire Investigator Plaintiffs and Fire Captain Plaintiffs an


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amount that has not yet been precisely determined. The employment and work records for the

Fire Investigator Plaintiffs and Fire Captain Plaintiffs (including time and attendance records) are

in the exclusive possession, custody and control of the defendant and the Fire Investigator

Plaintiffs and Fire Captain Plaintiffs are unable to state at this time the exact amount owing to

them.


    52. Pursuant to Va. Code Ann. § 9.1-704(A), the Fire Investigator Plaintiffs and the Fire

Captain Plaintiffs are entitled to recover liquidated damages in an amount equal to their back pay

damages for the defendant's failure to pay overtime compensation.

    53. Pursuant to Va. Code Ann. § 9.1-704(B), the Fire Investigator Plaintiffs and the Fire

Captain Plaintiffs are entitled to recover attorneys' fees and costs.



                                  DEMAND FOR A JURY TRIAL


        Pursuant to Rule 38 of the Federal Rules of Civil Procedure and applicable law, all

plaintiffs hereby demand that their claims be tried before a jury.



                                     PRAYER FOR RELIEF


        WHEREFORE, all plaintiffs, on their own behalf and on behalf of others similarly

situated, pray that this Court:

        (a) Enter judgment declaring that the defendant has willfully and wrongfully violated its

statutory obligations under federal law, and obligations under state law, and deprived each of the

plaintiffs of his/her rights;

        (b) Order a complete and accurate accounting of all the compensation to which the

plaintiffs are entitled;




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       (c) Award plaintiffs compensatory reliefin the form of liquidated damages equal to their

unpaid compensation;

       (d) Award plaintiffs interest on their unpaid compensation;

       (e) Award plaintiffs their reasonable attorneys' fees to be paid by the defendant, and the

costs and disbursements of this action; and

       (f) Grant such other relief as may be just and proper.



                                              Respectfully submitted,


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